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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ERIN O’CALLAGHAN, et al.,                  )
                                           )
              Plaintiffs,                  )
                                           )
       v.                                  )       Case No. 19-cv-06271
                                           )
THE BOARD OF TRUSTEES OF THE               )       Hon. John J. Tharp, Jr.
UNIVERSITY OF ILLINOIS, et al.             )
                                           )
              Defendants.                  )

                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on February 27, 2020, at 9:00 a.m. or as soon thereafter as

counsel may be heard, Defendants shall appear before the Honorable Judge John J. Tharp, Jr., in

Room 1419 of the United States District Court for the Northern District of Illinois, Eastern

Division, 219 South Dearborn, Chicago, Illinois, and shall then and there present DEFENDANTS

MICHAEL DIAZ’S AND AMY TRUELOVE’S MOTION TO DISMISS PLAINTIFFS’ FIRST

AMENDED COMPLAINT FOR FAILURE TO STATE A CLAIM, a copy of which is hereby

served upon you.

                                                   By: /s/ Sarah L. Bakker
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                                                   Attorneys for Defendants Michael Diaz and
                                                   Amy Truelove
    Case: 1:19-cv-06271 Document #: 35 Filed: 02/21/20 Page 2 of 2 PageID #:259




                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2020, I electronically filed the foregoing document with the

Clerk of the Court using the Court’s CM/ECF system, which will send notification of such filing to all

counsel of record.


Dated: February 21, 2020                                        /s/ Sarah L. Bakker
